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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                          BILLINGS DIVISION

TRACY CAEKAERT, and CAMILLIA               )
MAPLEY,                                    )
                                           )     Case No. CV-20-52-BLG-SPW
                    Plaintiffs,            )
                                                   PLAINTIFFS’ MOTION TO
                                           )
      vs.                                        SUPPLEMENT THE RECORD
                                           )
                                                    ON THEIR MOTION FOR
WATCHTOWER BIBLE AND TRACT                 )
                                                  SANCTIONS (ECF DOC. 101)
SOCIETY OF NEW YORK, INC.,                 )
WATCH TOWER BIBLE AND TRACT                )
SOCIETY OF PENNSYLVANIA, and               )
BRUCE MAPLEY SR.,                          )
                                           )
                    Defendants,            )
                                           )
WATCHTOWER BIBLE AND TRACT                 )
SOCIETY OF NEW YORK, INC.,                 )
             Cross Claimant,               )
                                           )
BRUCE MAPLEY, SR.,                         )
            Cross Defendant.               )
                                           )
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      Plaintiffs respectfully move the Court to supplement the record on their

Motion for Sanctions (ECF Doc. 101) with the recently obtained affidavit of

Watchtower Bible and Tract Society of New York, Inc. (“WTNY”) representative

Don Adams that bears directly on the issues pending before this Court.

      Defendants were contacted regarding this Motion and object. A brief in

support of this Motion is being filed contemporaneously herewith.

      DATED 24th day of March, 2022.

                                   MEYER, SHAFFER & STEPANS PLLP


                                    By: /s/ Ryan Shaffer
                                           Ryan R. Shaffer
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                         Plaintiffs’ Motion to Supplement the Record
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                           CERTIFICATE OF SERVICE

      Pursuant to Local Rule 1.4, this document has been served on all parties via

electronic service through the Court’s Case Management/Electronic Case Filing

(CM/ECF) system.

                                    By: /s/ Ryan Shaffer
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                                            Attorneys for Plaintiffs




                         Plaintiffs’ Motion to Supplement the Record
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